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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                              CASE NO. 23-80101(s)-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/


              GOVERNMENT’S MOTION FOR LEAVE TO FOLLOW FILING
               PROCEDURES SET FORTH BY THE COURT IN ECF NO. 320

         The United States of America, through its undesigned attorneys, respectfully requests leave

  to follow the procedures the Court set out in ECF No. 320 for the submission of four of its

  oppositions to defendants’ motions that contain materials for which the Government will be

  seeking redactions. The Government anticipates that four of its opposition briefs will contain

  information and attachments for which the Government will be seeking redactions and sealing.

  For those four opposition briefs, the Government requests leave, consistent with ECF No. 320, to

  (1) email unredacted versions of the briefs and attachments, as well as red-box versions of the

  briefs and attachments showing proposed redactions, to the Court and defense counsel on March

  7, 2024; (2) publicly file on March 7, 2024 a notice identifying the pleadings emailed to the Court

  and defense counsel; and (3) file on the same date a motion for leave to redact and seal certain
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  materials, setting forth the justifications for the proposed redactions and sealing and an explanation

  of how the Government has satisfied the standard for restricting public access to these materials.1

                                                 Respectfully submitted,

                                                 JACK SMITH
                                                 Special Counsel


                                         By:     /s/ Jay I. Bratt
                                                 Jay I. Bratt
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          The Government has met and conferred with defense counsel concerning this motion.
  Defense counsel do not object to the Government following the procedures set forth in ECF No.
  320 for the submission of the four briefs and attachments containing information for which the
  Government will be seeking redactions or sealing. Counsel for defendant Nauta requested that the
  Government communicate his belief that, at the March 1, 2024 hearing, the Court orally stayed all
  briefing on the Rule 12 motions until the Court had resolved all issues surrounding the redaction
  and sealing of discovery materials. Counsel for defendants Trump and De Oliveira believed the
  Court’s statements on that subject were ambiguous. Although it has yet to receive a transcript of
  the hearing, the Government does not believe the Court orally stayed further briefing on the Rule
  12 motions and notes that there is no memorialization of such a ruling in the minute order the
  Court issued after the hearing, ECF No. 361. The Government intends to file its opposition briefs
  on March 7. Counsel for defendant Nauta requests clarification as to whether the briefing is in
  fact stayed such that the Government’s filings on March 7 would not trigger the 7-day reply period
  under the Local Rules.
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                                  CERTIFICATE OF SERVICE
         I hereby certify that on March 5, 2024, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission of

  Notices of Electronic Filing.

                                              /s/ Jay I. Bratt
                                              Jay I. Bratt




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